               Case 1:20-cr-00040-BAH    Document    96-2   Filed 09/02/20                                                                   Page 1 of 1
CJNG & LOS CUINIS              Foreign Narcotics Kingpin Designation Act                                                                                             U.S. Department of the Treasury
                                                                                                                                                                     Office of Foreign Assets Control
Drug Trafficking Organizations
                                                                                                                                                                               New designees appear
September 2015                                                                     Indicted in the U.S. District Court                                                           in the box below.
                                                                                      for the District of Columbia
                                                                                   (Continuing Criminal Enterprise)
    CARTEL DE JALISCO
    NUEVA GENERACION
        (a.k.a. CJNG)

      Designated April 8, 2015
                                 ..__Leader
                                                 Nemesio OSEGUERA CERVANTES
                                              (a.k.a. Ruben OSEGUERA CERVANTES)
                                                                                             Brothers-in-Law;
                                                                                        Drug Trafficking Associates;
                                                                                         Designated April 8, 2015


                                                                                               ()10 ----....
                                                                                                    .
                                                                                                                                Abigael GONZALEZ VALENCIA
                                                                                                                                                            Leader



                                                                                                                              (a.k.a. Paul Jonathan TAK TOLEDO)
                                                                                                                                                                     --[_________  LOS CUINIS
                                                                                                                                                                           (a.k.a. LOS CUINIS DRUG
                                                                                                                                                                                  TRAFFICKING
                                                                                                                                                                            ORGANIZATION "DTO")
                                                                                                                                                                              Designated April 8, 2015
                                                          (a.k.a. "Mencho")                                                   (a.k.a. Luis Angel GOMEZ FLORES)
                                                           * FUGITIVE *            Arrested by Mexican Authorities        (a.k.a. Luis Angel GONZALEZ VALENCIA)
                                                                                           in February 2015


                                                                         Entities Linked to CJNG


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                                                                             Las          Flores
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        J & P ADVERTISING, S.A. DE C.V.                                           LAS FLORES CABANAS                                                          MIZU SUSHI LOUNGE




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                                                      ONZE BLACK



                                                                                                                                                                          EXHIBIT 2
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